                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                           CIVIL ACTION NO. 5:17-CV-152-D

PROGRESS SOLAR SOLUTIONS, LLC,                   )
                                                 )
                       Plaintiff,                )
                                                 )
        ~                                        )
                                                 )
FIRE PROTECTION, INC. dba FPI                    )
ENVIRONMENTAL; JOHN DOE, AS                      )
                                                          ORDER GRANTING LEAVE TO
EXECUTOR OR ADMINISTRATOR                        )
                                                         FILE 15-PAGE BRIEF IN SUPPORT
FOR THE ESTATE OF NORMAN                         )
                                                           OF MOTION FOR SANCTIONS
STEPHEN VAN VALKENBURGH, AND                     )
JEFFREY VAN VALKENBURGH, AS                      )
TRUSTEE FOR THE NORMAN                           )
STEPHEN VAN VALKENBURGH                          )
IRREVOCABLE LIVING TRUST;                        )
MIKEL BILLS; MICHAEL D. LONG;                    )
and SOLAR MOD SYSTEMS, INC.,                     )
                                                 )
                       Defendants.               )


       This case comes before the Court on motion (D.E. 145) filed by Plaintiff Progress Solar

Solutions, LLC ("Plaintiff'), for leave to file a proposed brief of more than ten pages in length in

support of its motion for sanctions (D .E. 144) against defendant Mikel Bills or, in the event that

leave is not granted, for an extension of time to file a shorter, supporting memoranda.

       The Court finds that good cause has been shown, and exercises its discretion pursuant to

Local Civil Rule 1.1, E.D.N.C, to allow Plaintiffs motion for leave to file that brief that is attached

to Plaintiff's underlying motion. The Court need not decide Plaintiff's alternative motion for an

extension of time as that request is now moot. Plaintiff's proposed brief (D.E. 144-1) shall be

considered part of the record on its motion for sanctions.




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SO ORDERED, this the ___1Q_ day of May, 2020.


                                                JAMES C. DEVER III
                                                United States District Judge




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